Case 23-01346-CMG         Doc 7      Filed 01/16/24 Entered 01/16/24 20:05:28         Desc Main
                                    Document      Page 1 of 11



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1

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 Attorneys for Amazon.com Services LLC
 In re:
                                                        Chapter 7
 DEMZA MASONRY, LLC
                                                        Case No. 21-18868 (CMG)
                       Debtor.
                                                        Honorable Christine M. Gravelle

 DANIEL E. STRAFFI, CHAPTER 7 TRUSTEE                   Adv. Pro. No. 23-01346 (CMG)

                       Plaintiff,

                v.

 AMAZON.COM SERVICES LLC

                       Defendant.


     DEFENDANT AMAZON.COM SERVICES, LLC’S ANSWER TO COMPLAINT
TO AVOID AND RECOVER FRAUDULENT TRANSFERS AND DISALLOW CLAIMS
            PURSUANT TO 11 U.S.C. §§ 544, 548, 550 AND 502(d)

         Defendant Amazon.com Services LLC f/k/a Amazon.com LLC (“Amazon”), by and

through its counsel of record, submits this answer (“Answer”) to Plaintiff Daniel E. Straffi,

Chapter 7 Trustee’s (“Plaintiff”) Complaint to Avoid and Recover Fraudulent Transfers and

Disallow Claims Pursuant to 11 U.S.C. §§ 544, 548, 550 and 502(d) (the “Complaint”). Pursuant

to Fed. R. Civ. P. 8, incorporated by Bankruptcy Rule 7008, Amazon generally denies each and

every allegation of the Complaint that is not expressly admitted herein. To the extent that Amazon



                                                1
507356706.4
Case 23-01346-CMG            Doc 7     Filed 01/16/24 Entered 01/16/24 20:05:28         Desc Main
                                      Document      Page 2 of 11



incorporates Plaintiff’s headings into this Answer, Amazon does so for organizational purposes

only and does not admit any of the allegations in Plaintiff’s headings. To the extent allegations

exist in any headings that Amazon does not incorporate into this Answer, Amazon denies the

allegations in said headings. Amazon does not, and is not required to, respond to statements in the

Complaint that are legal arguments or proposed conclusions of law. If an answer to any such

allegation is required, Amazon denies each such allegation that is not expressly admitted. Amazon

reserves the right to amend its Answer consistent with the facts discovered in this case. Amazon

hereby specifically answers the Complaint as follows:

                                    JURISDICTION AND VENUE

         1.     Answering Paragraph 1 of the Complaint, Plaintiff’s statement about the nature of

this case speaks for itself and requires no answer. Amazon denies that Plaintiff’s claims have merit

and that Plaintiff is entitled to relief.

         2.     Answering Paragraph 2 of the Complaint, Amazon states that the allegations therein

call for a legal conclusion for which no response is required.

         3.     Answering Paragraph 3 of the Complaint, Amazon states that the allegations therein

call for a legal conclusion for which no response is required.

         4.     Answering Paragraph 4 of the Complaint, Amazon states that the allegations therein

call for a legal conclusion for which no response is required.

                                             PARTIES

         5.     Answering Paragraph 5 of the Complaint, Amazon admits that the Plaintiff is the

Chapter 7 Trustee for the bankruptcy estate of Demza Masonry, LLC. Amazon states that the

remaining allegations call for a legal conclusion for which no response is required.




                                                 2
507356706.4
Case 23-01346-CMG         Doc 7     Filed 01/16/24 Entered 01/16/24 20:05:28             Desc Main
                                   Document      Page 3 of 11



         6.     Answering Paragraph 6 of the Complaint, Amazon states that its corporate entity

name is Amazon.com Services LLC. Amazon admits that it has a principal place of business at

410 Terry Avenue North in Seattle, Washington and conducts business in New Jersey. Amazon

states that the remaining allegations call for a legal conclusion for which no response is required.

                                         NON-PARTIES

         7.     Answering Paragraph 7 of the Complaint, Amazon is without sufficient information

to admit or deny the allegations therein and therefore denies the same.

         8.     Answering Paragraph 8 of the Complaint, Amazon is without sufficient information

to admit or deny the allegations therein and therefore denies the same.

         9.     Answering Paragraph 9 of the Complaint, Amazon is without sufficient information

to admit or deny the allegations therein and therefore denies the same.

         10.    Answering Paragraph 10 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         11.    Answering Paragraph 11 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         12.    Answering Paragraph 12 of the Complaint, Amazon admits the allegations therein.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

A.       The Debtor is the Successor to Speranza Brickwork, Inc.

         13.    Answering Paragraph 13 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         14.    Answering Paragraph 14 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.




                                                 3
507356706.4
Case 23-01346-CMG          Doc 7    Filed 01/16/24 Entered 01/16/24 20:05:28          Desc Main
                                   Document      Page 4 of 11



         15.    Answering Paragraph 15 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         16.    Answering Paragraph 16 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         17.    Answering Paragraph 17 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         18.    Answering Paragraph 18 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         19.    Answering Paragraph 19 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         20.    Answering Paragraph 20 of the Complaint, Amazon states that the complaint filed

in the District Court (“District Court”) for the District of New Jersey (Case No. 18-17302) speaks

for itself.

         21.    Answering Paragraph 21 of the Complaint, Amazon states that the District Court’s

summary judgment order and judgment speak for themselves.

         22.    Answering Paragraph 22 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         23.    Answering Paragraph 23 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         24.    Answering Paragraph 24 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

B.       The Debtor, While it was Insolvent, Made Various Transfers to the Defendant With Respect
         to Obligations Owed by the Principals and/or the Non-Debtor Entities




                                                4
507356706.4
Case 23-01346-CMG         Doc 7    Filed 01/16/24 Entered 01/16/24 20:05:28             Desc Main
                                  Document      Page 5 of 11



         25.   Answering Paragraph 25 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         26.   Answering Paragraph 26 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         27.   Answering Paragraph 27 of the Complaint, Amazon states that the Debtor’s

schedules of assets and liabilities speak for themselves. Amazon is without sufficient information

to admit or deny the remaining allegations and therefore denies the same.

         28.   Answering Paragraph 28 of the Complaint, Amazon states that the proofs of claims

filed in the Debtor’s bankruptcy case speak for themselves. Amazon is without sufficient

information to admit or deny the remaining allegations and therefore denies the same.

         29.   Answering Paragraph 29 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         30.   Answering Paragraph 30 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         31.   Answering Paragraph 31 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         32.   Answering Paragraph 32 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         33.   Answering Paragraph 33 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         34.   Answering Paragraph 34 of the Complaint, Amazon admits that one or more

Amazon accounts associated with Joseph Speranza was used to purchase products on the

Amazon.com store. Amazon denies the remaining allegations on the basis that it is presently



                                                5
507356706.4
Case 23-01346-CMG          Doc 7    Filed 01/16/24 Entered 01/16/24 20:05:28           Desc Main
                                   Document      Page 6 of 11



without sufficient information to admit or deny whether the Debtor paid for purchases in

connection with Joseph Speranza’s Amazon accounts and if it did, the aggregate amount of such

transfers.

         35.     Answering Paragraph 35 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         36.     Answering Paragraph 36 of the Complaint, admits that one or more Amazon

accounts associated with Joseph Speranza was used to purchase products on the Amazon.com

store. Amazon denies the remaining allegations on the basis that it is presently without sufficient

information to admit or deny whether the Debtor paid for purchases in connection with Joseph

Speranza’s Amazon accounts and if it did, the aggregate amount of such transfers.

         37.     Answering Paragraph 37 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

                                 FIRST CAUSE OF ACTION
               AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
                   (11 U.S.C. §§ 544(b) and 550; §§ 25:2-25(a) and 25-2-26)

         38.     Answering Paragraph 38 of the Complaint, Amazon incorporates, reiterates, and

repeats its answers to the preceding paragraphs as though fully set forth herein.

         39.     Answering Paragraph 39 of the Complaint, Amazon denies the allegations therein.

         40.     Answering Paragraph 40 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         41.     Answering Paragraph 41 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         42.     Answering Paragraph 42 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         43.     Answering Paragraph 43 of the Complaint, Amazon denies the allegations therein.

                                                 6
507356706.4
Case 23-01346-CMG           Doc 7    Filed 01/16/24 Entered 01/16/24 20:05:28              Desc Main
                                    Document      Page 7 of 11



         44.     Answering Paragraph 44 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         45.     Answering Paragraph 45 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         46.     Answering Paragraph 46 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         47.     Answering Paragraph 47 of the Complaint, Amazon denies the allegations therein.

         Answering Plaintiff’s prayer for relief, Amazon denies that Plaintiff is entitled to relief.

                                SECOND CAUSE OF ACTION
               AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
                (11 U.S.C. §§ 544 and 550; N.J.S.A. §§ 25:2-25(b) and 25:2-27(a))

         48.     Answering Paragraph 48 of the Complaint, Amazon incorporates, reiterates, and

repeats its answers to the preceding paragraphs as though fully set forth herein.

         49.     Answering Paragraph 49 of the Complaint, Amazon denies the allegations therein.

         50.     Answering Paragraph 50 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         51.     Answering Paragraph 51 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         52.     Answering Paragraph 52 of the Complaint, Amazon denies the allegations therein.

         53.     Answering Paragraph 53 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         54.     Answering Paragraph 54 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         55.     Answering Paragraph 55 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

                                                   7
507356706.4
Case 23-01346-CMG           Doc 7    Filed 01/16/24 Entered 01/16/24 20:05:28              Desc Main
                                    Document      Page 8 of 11



         56.    Answering Paragraph 56 of the Complaint, Amazon denies the allegations therein.

         Answering Plaintiff’s prayer for relief, Amazon denies that Plaintiff is entitled to relief.

                                THIRD CAUSE OF ACTION
                 AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
                          (11 U.S.C. §§ 548(a)(l)(B) and 550)

         57.    Answering Paragraph 57 of the Complaint, Amazon incorporates, reiterates, and

repeats its answers to the preceding paragraphs as though fully set forth herein.

         58.    Answering Paragraph 58 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         59.    Answering Paragraph 59 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         60.    Answering Paragraph 60 of the Complaint, Amazon denies the allegations therein.

         61.    Answering Paragraph 61 of the Complaint, Amazon denies the allegations therein.

         62.    Answering Paragraph 62 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         63.    Answering Paragraph 63 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         64.    Answering Paragraph 64 of the Complaint, Amazon denies the allegations therein.

         65.    Answering Paragraph 65 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

         66.    Answering Paragraph 66 of the Complaint, Amazon denies the allegations therein.

Answering Plaintiff’s prayer for relief, Amazon denies that Plaintiff is entitled to relief.




                                                   8
507356706.4
Case 23-01346-CMG               Doc 7     Filed 01/16/24 Entered 01/16/24 20:05:28            Desc Main
                                         Document      Page 9 of 11



                             FOURTH CAUSE OF ACTION
                 AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
                            (11 U.S.C. §§ 548(a)(l)(A) and 550)

           67.     Answering Paragraph 67 of the Complaint, Amazon incorporates, reiterates, and

repeats its answers to the preceding paragraphs as though fully set forth herein.

           68.     Answering Paragraph 68 of the Complaint, Amazon denies the allegations therein.

           69.     Answering Paragraph 69 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

           70.     Answering Paragraph 70 of the Complaint, Amazon denies the allegations therein.

           71.     Answering Paragraph 71 of the Complaint, Amazon is without sufficient

information to admit or deny the allegations therein and therefore denies the same.

           72.     Answering Paragraph 72 of the Complaint, Amazon denies the allegations therein.

           Answering Plaintiff’s prayer for relief, Amazon denies that Plaintiff is entitled to relief.

                                       FIFTH CAUSE OF ACTION
                                      DISALLOWANCE OF CLAIMS
                                           (11 U.S.C. § 502(d))

           73.     Answering Paragraph 73 of the Complaint,1 Amazon incorporates, reiterates, and

repeats its answers to the preceding paragraphs as though fully set forth herein.

           74.     Answering Paragraph 74 of the Complaint, Amazon states that the allegations

therein call for a legal conclusion for which no response is required.

           Answering Plaintiff’s prayer for relief, Amazon denies that Plaintiff is entitled to relief.

                                       RESERVATION OF RIGHTS

           75.     Answering Paragraph 75 of the Complaint, Plaintiff’s statement about his

reservation of rights speaks for itself and requires no answer.



1
    Paragraphs 73 through 76 of the Complaint are mislabeled as Paragraphs 232 through 235.

                                                          9
507356706.4
Case 23-01346-CMG             Doc 7    Filed 01/16/24 Entered 01/16/24 20:05:28           Desc Main
                                      Document     Page 10 of 11



         76.    Answering Paragraph 76 of the Complaint, Plaintiff’s statement about his

reservation of rights speaks for itself and requires no answer.

                              AMAZON’S AFFIRMATIVE DEFENSES

         Without assuming Plaintiff’s burden of proof on any issue, Amazon alleges the following

affirmative defenses. The full extent to which Plaintiff’s claims may be barred by one or more

affirmative defenses, if not specifically set forth below, cannot be determined until Amazon has

had an opportunity to complete discovery. Therefore, Amazon reserves the right to assert

additional affirmative defenses in the event discovery indicates that would be appropriate. In

addition, Amazon incorporates by reference all affirmative defenses contemplated by the Federal

Rules of Civil Procedure and Federal Rules of Bankruptcy Procedure.

                                FIRST AFFIRMATIVE DEFENSE

         1.     The Complaint is barred by Plaintiff’s failure to state a claim upon which relief can

be granted.

                               SECOND AFFIRMATIVE DEFENSE

         2.     The Complaint is barred by the affirmative defenses contained in 11 U.S.C. §§ 550

and N.J.S.A. § 25:2-30, including affirmative defenses premised on Amazon’s statute as a good

faith transferee for value.

                                       PRAYER FOR RELIEF

         WHEREFORE, Amazon prays for judgment as follows:

         A.     Dismissal, with prejudice, of the Complaint.

         B.     An award of attorneys’ fees and costs incurred in defending this action, to the extent

such costs and fees are recoverable by law or in equity.




                                                 10
507356706.4
Case 23-01346-CMG         Doc 7    Filed 01/16/24 Entered 01/16/24 20:05:28       Desc Main
                                  Document     Page 11 of 11



         C.   Such other relief that this Court deems just and proper.



Dated: January 16, 2024


                                     By: /s/ David S. Catuogno
                                            David S. Catuogno
                                            K&L Gates LLP
                                            Attorneys for Amazon.com Services LLC f/k/a
                                            Amazon.com LLC




                                               11
507356706.4
